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               UNITED STATES DISTRICT COURT

               SOUTHERN DISTRICT OF GEORGIA

                        STATESBORO DIVISION

WESLEY BERNARD AIKENS,

     Movant,
                                                 CV6 11-039
v.                                      Case No. CV610-025
                                                 CR6O 7-031
UNITED STATES OF AMERICA,

     Respondent,

                REPORT AND RECOMMENDATION

     A jury convicted Wesley Bernard Aikens of conspiracy to violate 18

U.S.C. § 511, § 513, § 1001 2 § 2321 and § 2313 by trafficking in stolen

motor vehicles with altered identification numbers, forging state

securities with the intent to defraud, receiving stolen motor vehicles, and

making false statements to federal law enforcement officers. CR607-931,

docs. 466 (redacted indictment) & 468 (jury verdict). The Court

sentenced him to 51 months' imprisonment, ordered him to make

$82,546.28 in restitution, and directed him to pay a $100 special

assessment. Doc. 628.
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     While appealing his case, doe. 632, Aikens declared war on reality.

First, he "paid" his restitution by filing a "Creditor's promissory note of

payment for the complete restitution in the sum certain amount of

$82,546.28." Doc. 751; see also doe. 752 (a second promissory note to

cover the $100 special assessment against him); doe. 771 (he re-filed the

$82,546.28 note because somehow it got "accepted for value and returned

for value"); doe. 772 (an additional, $100,000,000 promissory note,

apparently for good measure); doe. 773 (an additional $1 billion

promissory note, also apparently for good measure).

     Second, he dismissed his own appeal with prejudice. Doc. 770.

This evidently made sense to him, because he then moved for 28 U.S.C. §

2255 relief. Doc. 774. He wanted out of prison and his monetary

obligations discharged because, he contended, he had now made a

"Satisfaction and Accord" with the government. Id. at 4 (Ground One,

which is his only ground). In support, he attached another $1 Billion

promissory note. Id. at 7; see also doe. 777 (his "acknowledgement" that

he has tendered the promissory note "to cover any/all fees and cost in the

aforesaid CRIMINAL CASE NO.; and for the release of the physical

body/VESSEL of Debtor /Petitioner: WESLEY BERNARD AJKENS, and


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any/all other real/personal property thereof [See e.g. FEDERAL CIVIL

JUDICIAL PROCEDURES and RULES, RULE "ET (5) (a), SPECIAL

BOND]."). And, after tendering promissory notes in the "face amount

[of] 4 BILLION U.S. DOLLARS" to the government, doe. 778 at 1,

Aikens also moved the Court for the release of his property. Id. at 2.

     Pursuant to 28 U.S.C. § 2255 Rule 4, the Court recommended that

Wesley Bernard Aikens's §2255 motion (doe. 774), as well as his "release

of property" motion (doe. 778), be denied as patently frivolous. Doc. 787,

adopted, does. 791 & 792. Re-running essentially the same babbling

nonsense, Aikens has just filed a second § 2255 motion. Doc. 810 at 9

(tending a "Certified Promise to Pay" a bond for his release). Equally

frivolous, it also must be DISMISSED, though this time as successive

under 28 U.S.C. § 2244(b)(3)(A) and 28 U.S.C. § 2255(h).

     Applying the Certificate of Appealability (COA) standards set forth

in Brown v. United States, 2009 WL 307872 at * 1-2 (S.D. Ga. Feb. 9,

2009) (unpublished), the Court discerns no COA-worthy issues at this

stage of the litigation, so no COA should issue. 28 U.S.C. § 2253(c)(1);

see Alexander v. Johnson, 211 F.3d 895, 898 (5th Cir. 2000) (approving

sua sponte denial of COA before movant filed a notice of appeal). And, as
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there are no non-frivolous issues to raise on appeal, an appeal would not

be taken in good faith. Thus, in forma pauperis status on appeal should

likewise be DENIED. 28 U.S.C. § 1915(a)(3).

      SO REPORTED AND RECOMMENDED this 20th day of

April, 2011.



                                          iSGISTRAEE JUDGE
                                   SOUTHERN DISTRICT of GEORGIA




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